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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 FULTON COUNTY BOARD OF
 ELECTIONS, et al                                No. 1:22-CV-01639-SHR

                        Plaintiffs,
                                                 Judge Sylvia H. Rambo
             v.

 DOMINION VOTING SYSTEMS,
 INC. et al.

                        Defendants.


        DEFENDANTS’ BRIEF IN SUPPORT OF ITS MOTION
        PURSUANT TO RULES 12(b)(1) AND 12(b)(6) OF THE
   FEDERAL RULES OF CIVIL PROCEDURE TO DISMISS AMENDED
                        COMPLAINT


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        Pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules of Civil

Procedure, Defendants Dominion Voting Systems, Inc. and U.S. Dominion, Inc.

(“Dominion”) hereby file this Brief in Support of its Motion to Dismiss Amended

Complaint.

I.      PROCEDURAL HISTORY

        Plaintiffs commenced this action by the filing of a complaint in the

Pennsylvania Court of Common Pleas for Fulton County on or about September 21,

2022, asserting two counts against the Defendants – Count I for breach of contract,

and Count II for breach of warranty. Dominion timely filed a notice of removal on

October 18, 2022.1 On November 23, 2022, Dominion filed a Rule 12(b)(6) motion

seeking the dismissal of the action in its entirety, and alternatively the dismissal of

all parties other than Plaintiff County of Fulton (“County”) and Defendant Dominion

Voting Systems, Inc. (“DVSI”). After briefing by the parties, this Court issued an

order and accompanying memorandum opinion granting Dominion’s motion with

prejudice to certain claims, and without prejudice to others. Specifically, this Court

held the following:

                 (1) Counts I and II are DISMISSED with prejudice to the
                 extent they allege that Defendants breached the parties’
                 contract and warranties contained therein and/or caused
                 Plaintiffs damages by providing Fulton County with a

1
 Plaintiffs did not serve either Defendant, and consequently, the time for removal
did not commence until Defendants learned of the suit and obtained a copy of the
complaint directly from the Court.

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                 voting system that left it unable to comply with state and
                 federal election requirements;
                 (2) Counts I and II are otherwise dismissed WITHOUT
                 PREJUDICE to Plaintiffs’ right to file an amended
                 complaint within 21 days of the date on this order.

(See Doc. 10).

        On October 19, 2023, all Plaintiffs except Fulton County, filed an amended

complaint, asserting the same two counts based upon the same express written

agreement and the identical exhibits as in the original complaint. The amended

complaint is substantially the same as the original and fails to address the substantive

deficiencies that resulted in its dismissal by this Court. Accordingly, on November

9, 2023, Dominion, once again, filed a motion to dismiss pursuant to Rules 12(b)(1)

and 12(b)(6) of the Federal Rules of Civil Procedure. This brief is now filed in

support of Dominion’s motion.2




2
  In addition to filing the amended complaint, Plaintiffs Fulton County Board of
Elections, Stuart L. Ulsh and Randy H. Bunch, along with prior Plaintiff Fulton
County, filed a notice of appeal of this Court’s order dismissing the original
complaint to the Third Circuit Court of Appeals. (See Doc. 12). The Third Circuit
issued an order questioning the finality of this Court’s order, and directing the
parties to file a written response on that issue. A copy of the Third Circuit’s order
is attached hereto as Exhibit “A”. A copy of Dominion’s written response is
attached hereto as Exhibit “B”. A copy of Plaintiffs’ response (without exhibits) is
attached hereto as Exhibit “C”.

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II.     STATEMENT OF THE FACTS

        The averments of the amended complaint are substantively indistinguishable

from those set forth in the original complaint dismissed by this Court, with few

exceptions.3 Most notably, Plaintiffs have substituted in Plaintiff County Board of

Elections for each averment previously attributed to Fulton County.4 Otherwise, the

amended complaint relies on the same facts, attaches the same exhibits, and seeks

the same damages as the original. As this Court is familiar with the factual

averments from the last round of pleadings, Dominion will provide an abbreviated

statement here.

        In August 2019, Defendant DVSI entered into a written agreement with

Fulton County (“Agreement”) to provide it with voting system services and software

for conducting elections. (Doc. 11-1, pp. 1, 8-9; see also Doc 11, ¶ 29).5 DVSI’s


3
 Plaintiffs did not even bother to change the caption to reflect that the case is
currently in federal court, instead maintaining the caption from the originally filed
complaint in the Pennsylvania Court of Common Pleas for Fulton County.
4
 Plaintiffs argue that the Fulton County Board of Elections is the alter ego of
Fulton County for purposes of any contracts regarding the procurement of voting
machines and/or systems. This Court is not bound to accept Plaintiffs’ legal
conclusions for purposes of ruling on a motion to dismiss pursuant to Rule 12(b).
See Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906, 908 (3d Cir. 1997).
5
  Although Plaintiffs assert in the amended complaint that it was Fulton County
Board of Elections that entered into the contract, this Court need not except that
legal conclusion. See Morse, 132 F.3d at 906. Rather, this Court may rely upon the
express language of the contract as attached to the amended complaint to
determine who the contracting parties were. In this case, those parties were
Defendant DVSI and Fulton County.

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responsibilities under the Agreement included, as relevant here, delivering to Fulton

County the voting system, services and licenses described in the contract. (See Doc

11-1, pp. 3-4, ¶ 4). The term of the Agreement was to continue through December

31, 2026, unless sooner terminated or extended. (Id., p. 3, ¶ 3). Fulton County was

permitted to terminate the Agreement at will in the event the system did not obtain

Pennsylvania voting system certification. (Id., p. 9).

        The Agreement contained various restrictions on the County’s use of the

leased hardware and licensed software. The County was expressly prohibited from

(i) transferring or copying onto any other storage device or hardware, or other

copying of the software, in whole or in part, except for the purpose of system backup;

(ii) reverse engineering, disassembling, decompiling, deciphering or analyzing the

software in whole or in part; and/or (iii) altering or modifying the software in any

way, in whole or in part. (Doc. 11-1, p. 19, ¶ 5).

        In January of 2019, the DVSI supplied hardware and software (collectively

the “Voting System”) was certified by the Commonwealth of Pennsylvania as

complying with all requirements of the Pennsylvania Election Code, and by the

United States Election Assistance Commission as meeting Federal voting system

standards. (Doc. 11-2, pp. 2, 53). The Plaintiffs began using the Voting System in




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April of 2019. (Doc. 4-2, ¶ 19).6 The Plaintiffs continued to use the Voting System

through the November 3, 2020, general election. (Doc. 4-2, ¶ 20).

        In December of 2020, and February of 2021, the Plaintiffs permitted a third-

party consultant, Wake TSI, to access and inspect the Voting System, and to make

copies of various directories, log files and other information. (Doc. 4-2, ¶¶ 28, 30;

Doc. 11, ¶ 79; Doc 11-4, pp. 9-11). As a result of that third-party inspection, in July

of 2021, the Pennsylvania Department of State (“Department”) decertified the

County’s future use of the equipment accessed and inspected by Wake TSI (the

“Impacted Equipment”) explaining, “[a]s a result of the access granted to Wake TSI,

Fulton County’s certified system has been compromised and neither Fulton County;

the vendor, Dominion Voting Systems; nor the Department of State can verify that

the impacted components of Fulton County’s leased voting system are safe to use in

future elections.” (Doc 11, ¶ 82; Doc 4-2, ¶ 37; Doc 4-3). The Department’s




6
  Doc 4-2 is the amended petition for review that Plaintiffs filed against the
Secretary of the Commonwealth of Pennsylvania in the Commonwealth Court at
Docket No. 277 M.D. 2020 (“Commonwealth Court Litigation”), as referenced in
paragraphs 83-88 of the amended complaint. In considering a motion to dismiss,
this Court may consider “documents whose contents are alleged in the complaint
and whose authenticity no party questions, but which are not physically attached to
the pleading … .” Musto v. Sweeney, 2022 U.S. Dist. LEXIS 174132, *18-19, 2022
WL 4472462 (M.D. Pa. Sept. 26, 2022) (quoting Pryor v. Nat’l Collegiate Athletic
Ass’n, 288 F.3d 548, 560 (3d Cir. 2002) and citing U.S. Express Lines, Ltd. v.
Higgins, 281 F.3d 383, 388 (3d Cir. 2002)).
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decision was based solely upon the Plaintiffs’ actions, and not due to any issues with

the Voting System as supplied by DVSI, and as certified by the Department.

        On or about August 18, 2021, the Plaintiffs and the County collectively

commenced the Commonwealth Court Litigation challenging the Department’s

decertification of the Impacted Equipment by filing a petition for review in the

Pennsylvania Commonwealth Court. (Doc. 11, ¶ 83). They filed an amended

petition for review on September 17, 2021. (Doc. 11, ¶ 84; Doc 4-2). In its verified

amended petition for review, the Plaintiffs maintain that the Department’s

decertification was without justification, and that had the Department inspected the

Voting System after Wake TSI’s inspection, the Department “would have found that

the security and other requirements of [the Pennsylvania Election Code] continued

to meet the requirements of the Election Code, and that such existing machines could

readily be used by Fulton County.” (Doc. 4-2, ¶ 48). The Commonwealth Court

Litigation remains pending.7

        The Plaintiffs, now without the participation of the County, bring the same

breach of contract and breach of warranty counts against Dominion as they did in


7
 This Court may take judicial notice of the filings in the Commonwealth Court
Litigation, and in a companion action before the Pennsylvania Supreme Court at
Docket No. 3 MAP 2022 related to contempt proceedings against Plaintiffs
associated with the equipment at issue. Dominion refers this Court to County of
Fulton v. Secretary of the Commonwealth, 292 A.3d 974 (Pa. 2023), which
summarizes the factual circumstances that resulted in the Commonwealth’s
decertification determination.
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the original complaint, based upon the same reports that this Court previously found

insufficient to raise a plausible argument to support their claims, and seeking the

same damages on the same grounds that this Court previously dismissed with

prejudice. For the reasons set forth below, this Court should dismiss the amended

complaint, in its entirety, with prejudice.


III.    STATEMENT OF QUESTIONS INVOLVED

        A.    DO PLAINTIFFS FULTON COUNTY BOARD OF ELECTIONS,
              STUART L. ULSH AND RANDY H. BUNCH LACK STANDING
              TO MAINTAIN A BREACH OF CONTRACT AND/OR BREACH
              OF WARRANTY ACTION AGAINST DEFENDANTS, THEREBY
              DEPRIVING THIS COURT OF ARTICLE III SUBJECT MATTER
              JURISDICTION, AND REQUIRING THAT THEY SHOULD BE
              DISMISSED AS PARTIES?

              Suggested Answer: Yes.

        B.    HAVE PLAINTIFFS FAILED TO STATE A CLAIM AGAINST
              DEFENDANTS FOR WHICH RELIEF MAY BE GRANTED BY
              THIS COURT?

              Suggested Answer: Yes.

IV.     STANDARD OF REVIEW

        To survive a motion to dismiss under Rule 12(b)(6), the plaintiff must allege

“factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, (2007)). In reviewing

a 12(b)(6) motion, the court must “accept as true all well-pled factual allegations in


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the complaint and all reasonable inferences that can be drawn from them.” Taksir v.

Vanguard Grp., 903 F.3d 95, 96–97 (3d Cir. 2018) (citation omitted). The facts

alleged must be “construed in the light most favorable to the plaintiff.” In re Ins.

Brokerage Antitrust Litig., 618 F.3d 300, 314 (3d Cir. 2010) (internal quotations,

brackets, and ellipses omitted). But “[t]he court is not required to draw unreasonable

inferences” from the facts. 5B Charles A. Wright & Arthur R. Miller, Federal

Practice & Procedure § 1357 (3d ed. 2004). Likewise, the Court “need not credit a

complaint’s bald assertions’ or ‘legal conclusions’ when deciding a motion to

dismiss.” Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906, 908 (3d Cir. 1997)

        The Third Circuit has detailed a three-step process to determine whether a

complaint meets the pleading standard. Bistrian v. Levi, 696 F.3d 352 (3d Cir. 2012).

First, the court outlines the elements a plaintiff must plead to state a claim for relief.

Id. at 365. Second, the court must “peel away those allegations that are no more than

conclusions and thus not entitled to the assumption of truth.” Id. Third, the court

“look[s] for well-pled factual allegations, assume[s] their veracity, and then

‘determine[s] whether they plausibly give rise to an entitlement to relief.’” Id.

(quoting Iqbal, 556 U.S. at 679). The last step is “a context-specific task that requires

the reviewing court to draw on its judicial experience and common sense.” Id.

        A defendant may also challenge a plaintiff’s complaint for want of standing

under Rule 12(b)(1). There are two categories of challenges made under this rule:


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facial or factual. Davis v. Wells Fargo, 824 F.3d 333, 346 (3d Cir. 2016). The

significance of this distinction centers on how the court is to treat the factual

allegations of the nonmoving party. Where, as here, the challenge to subject matter

jurisdiction does not dispute the relevant facts alleged in the complaint, the court is

required to “consider the allegations of the complaint as true.” Id. (quoting Petruska

v. Gannon Univ., 462 F.3d 294, 302 (3d Cir. 2006)).

V.      ARGUMENT

        A.    Plaintiffs Fulton County Board of Elections, Stuart L. Ulsh and
              Randy H. Bunch Lack Standing to Pursue a Breach of
              Contract/Breach of Warranty Action against Defendants.

        As this Court found with the original complaint, Plaintiffs Fulton County

Board of Elections, Stuart L. Ulsh and Randy H. Bunch lack standing to proceed

forward with the claims asserted in the amended complaint, thereby depriving this

court of subject matter jurisdiction, and requiring that the amended complaint be

dismissed. In order to satisfy the jurisdictional standing requirement, a plaintiff must

establish three elements: (i) that he has suffered an injury in fact, meaning a concrete

and particularized invasion of a legally protected interest; (ii) that there is a causal

connection between the injury and the conduct complained of that can be fairly

traceable to the challenged action of the defendant, and not the result of the

independent action of some third party not before the court; and (iii) that it is likely

(as opposed to merely speculative) that the injury will be redressed by a favorable


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decision. Davis, 824 F.3d at 346-347. See also, Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992). Here, Plaintiffs have failed to establish any of these three

elements.

        Like the original complaint, the amended complaint fails to contain any

substantive allegations showing that any of the Plaintiffs suffered an injury in fact,

a predicate to standing. See Davis, 824 F.3d at 348. As this Court previously found,

none of the Plaintiffs in the amended complaint are parties to the underlying

agreement between Fulton County and DVSI.8 (Doc. 9, p. 6). Other than including

Messrs. Ulsh’s and Bunch’s names in the caption and claiming that they are the

functional equivalent of the County, the amended complaint contains no averments

regarding their involvement in the matter, and does not expressly or impliedly seek

damages on their behalf.

        As for the Board of Elections, they have not articulated any injury in fact that

they claim to have sustained as a non-party to the underlying Agreement that was

caused by any conduct attributable to the Defendants. Rather, they claim to have

“suffered damages, including, but not limited to, the inability to ensure compliance

with the requirements of state and federal law” (see Doc. 11, ¶¶ 135, 172, 173) and

“in consideration and reliance upon a voting system that did not maintain and ensure



8
  Curiously, Fulton County – the only plaintiff from the original action that had
standing, elected not to be a party to the amended complaint.
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the integrity and sanctity of the voting process” (see Doc. 11, ¶¶ 136, 137, 174, 175).

This Court has already dismissed all claims for such damages, with prejudice, in

response to Defendants’ motion to dismiss the original complaint. (See Doc. 9, p.

10 (“As to Fulton County, to the extent that it alleges that Defendants breached the

underlying agreement and accompanying warranties by supplying a voting system

that left it unable to comply with federal and state election requirements, amendment

would be futile and the claims will be dismissed with prejudice”)). They cannot

provide the basis for standing in the amended complaint.

        Based upon the above, Plaintiffs Fulton County Board of Elections, Stuart L.

Ulsh and Randy H. Bunch lack standing necessary to invoke this Court’s

jurisdiction. Accordingly, the amended complaint should be dismissed, this time

with prejudice.

         B.   Plaintiffs Have Failed to State a Claim in Breach of Contract or
              Breach of Warranty Against Defendants, Thereby Warranting
              Dismissal of the Complaint in its Entirety.

        It is well established that three elements are necessary to plead a cause of

action for breach of contract: (1) the existence of a contract, including its essential

terms; (2) a breach of the contract; and (3) resultant damages. Meyer, Darragh,

Buckler, Bubenek & Eck, P.L.L.C. v. Law Firm of Malone Middleman, P.C., 137

A.3d 1247, 1258 (Pa. 2016). Additionally, Pennsylvania law requires privity for a

breach of contract claim. See Whitaker v. Herr Foods, Inc., 198 F.Supp.3d 476, 486

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(E.D. Pa. 2016); see also Electron Energy Corp., v. Short, 597 A.2d 175, 178

(1991)(“[i]t is fundamental contract law that one cannot be liable for breach of

contract unless one is a party to that contract.”); Fleetway Leasing Co., v. Wright,

697 A.2d 1000, 1003 (Pa. Super. 1997). Plaintiffs have failed to satisfy the above

elements to establish any claims against either of the named Defendants.

        First, the amended complaint is based upon the same written contract as the

original complaint, which on its face indicates it is between the County and DVSI

only. (Doc. 11-1, pp. 2, 12). This Court already determined that none of the current

Plaintiffs were a party to that agreement. (Doc 9, p. 6).9 There are no factual

averments in the Complaint to the contrary, or that establish any legally cognizable

interest in the Agreement with respect to any other party. Based upon the above

referenced legal precedent, the only parties that can sue or be sued for breach of the

Agreement are the County and DVSI. Consequently, no claims upon which relief

may be granted by this Court have been sufficiently stated by any of the Plaintiffs to

the amended complaint. Accordingly, the amended complaint should be dismissed.

        Second, as with the original complaint, the Plaintiffs here have a damages

problem. The amended complaint’s allegations that Dominion violated the



9
 Moreover, the Agreement specifically precludes any third-party beneficiaries, and
expressly provides “[n]o obligation of [DVSI] or [the County] may be enforced
against [DVSI] or [the County], as applicable, by any person not a party to [the]
Agreement.” (Doc. 11-1, p. 11).
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constitutional rights of Fulton County voters are generalized and non-substantive,

and its core substantive claims that Dominion provided a voting system that left

Fulton County unable to ensure compliance with election law requirements are

simply untrue. (See Doc. 9, p. 7). The amended complaint and documents attached

thereto, and referenced therein, make clear that Fulton County’s voting system was

certified under federal and state law (see Doc. 11, ¶¶ 60-63; Doc. 11-2, pp. 2, 53),

and that the system was only decertified by the Pennsylvania Department of State

because of Fulton County’s own conduct in permitting a third-party to access and

inspect the system. (Doc. 11, 82. See also, Doc. 4-3). Although this Court was

clear in its memorandum opinion dismissing the original complaint that on the facts

alleged no breach of contract action could be made on the basis that Dominion

violated the Agreement by failing to provide a system that allowed the County to

comply with federal and state election requirements, Plaintiffs here have doubled

down and made the same claim, on the same grounds, based upon the same

substantive facts. The fate of the amended complaint should be the same as the

original.

        In addition, while Plaintiffs seek money damages from Dominion as

compensation for claimed vulnerabilities and defects in the Voting System, the

allegations of the amended complaint are generalized and conclusory, and fail to

pinpoint any particular, substantive flaws which both violated the Agreement and


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caused Plaintiffs damages. The reports that Plaintiffs attached to the amended

complaint are the very same ones that this Court found were insufficient to raise a

plausible inference that the Voting System at issue failed to comply with the

specifications set forth in the Agreement in a manner that caused damages regarding

the original complaint. (Doc. 9, pp. 8-9). They are equally insufficient with regard

to the claims of the amended complaint.

        The Plaintiffs’ breach of express warranty claim fares no better. To state a

claim for breach of express warranty under Pennsylvania law, the plaintiff must allege

“(1) that the defendant made an affirmation of fact or description of its goods; (2) that

the statement formed part of the basis of the bargain between the parties; and (3) that

the product failed to conform with the affirmation or description.” Garbutt v. Murray's

Freightliner, No. 21-CV-628, 2021 WL 3513858, at *4 (W.D. Pa. Aug. 10, 2021)

(quoting In re Shop-Vac Mktg. & Sales Practices Litig., 964 F. Supp. 2d 355, 362

(M.D. Pa. 2013)). Plaintiffs plead that Dominion breached the express warranty

provisions of the Agreement that the hardware provided by Dominion would be “free

of defects that would prevent [it] from operating in conformity in all material respects

with its specifications as documented by Dominion.” (Doc. 11, ¶¶ 148-149).

However, the pleading fails to allege any particular defect in the hardware that

prevented it from operating as specified. This is fatal to its claim.




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        The amended complaint and documents referenced therein provide every

indication that the Voting System functioned substantially as intended. To the extent

any errors are alleged to have occurred, they were miniscule and had no material

impact on the functioning of the devices, as this Court previously determined. (Doc.

9, p. 9). This is evident not only by the County’s use of the Voting System through the

November 2020 election, but also by the Plaintiffs’ tacit admission in the filing made

in the Commonwealth Court Litigation that the Department of State’s decertification

was improper, and that the Voting System could have been used going forward.10 The

amended complaint accordingly does not support a plausible inference that the Voting

System hardware failed to conform with any affirmation or description set forth in the

Agreement. Like its predecessor, the amended complaint should be dismissed, this

time with prejudice.

VI.     CONCLUSION

        This Court’s prior order and memorandum dismissing the original complaint

gave clear guidance, and set specific limitations, regarding the limited basis upon

which an amended complaint could be filed by Plaintiffs. Rather than heed this


 In their verified Amended Petition for Review, Plaintiffs maintain that the
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Department’s decertification was without justification, and that had the
Department inspected the Voting System after Wake TSI’s inspection, the
Department “would have found that the security and other requirements of [the
Pennsylvania Election Code] continued to meet the requirements of the Election
Code, and that such existing machines could readily be used by Fulton County.”
(Doc. 4-2, ¶ 48).

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Court’s order and opinion, Plaintiffs and their counsel completely disregarded them,

and filed an amended complaint that merely attempts to restore the very same claims

that were previously dismissed, on the same facts, seeking the same damages.11 For

the reasons set forth herein, the amended complaint suffers from the same fatal

defects as the original. Plaintiffs have failed to establish that they have standing to

pursue the asserted claims, and the averments alleged fail to properly state a claim

upon which this Court may grant relief.        Plaintiffs’ inability to correct the prior

deficiencies demonstrates that further leave to amend would be futile.

        Consequently, this Court should dismiss the amended complaint, with

prejudice.

                                                Respectfully submitted,

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11
  Plaintiff and their counsel have a recent history of disregarding instructions given
by a court regarding the Dominion equipment at issue, as detailed by the
Pennsylvania Supreme Court in Justice Wecht’s 79-page opinion issued on April
29, 2023 in County of Fulton v. Secretary of the Commonwealth, 292 A.3d 974
(Pa. 2023)(“This Opinion concerns a party’s defiance of an order issued by this
Court”).
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                       CERTIFICATE OF WORD COUNT


        I hereby certify that the foregoing Brief complies with Local Rule 7.8(b)(2).

The Brief contains approximately 4,671 words as determined by the word count

feature of the word processing system used to prepare the Brief.


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                         CERTIFICATE OF SERVICE

        I, Michael W. Winfield, Esquire, attorney for Defendants, Dominion Voting

Systems, Inc. and U.S. Dominion, Inc. hereby certify that on this 21st day of

November, 2023, I served a true and correct copy of the foregoing Defendants’ Brief

in Support of its Motion Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules

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